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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                            Case No. 2:15-CR-69 JCM (NJK)
                 8                                            Plaintiff(s),                     ORDER
                 9              v.
               10        JIANGUO HAN, ZHIWEN LIN, and
                         BING HAN,
               11
                                                            Defendant(s).
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                               Presently before the court are the report and recommendation of Magistrate Judge Koppe.
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                        (ECF No. 103). No objections were filed, and the deadline for filing objections has passed.
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                               Magistrate Judge Koppe recommended that defendant Bing Han’s motion to suppress (ECF
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                        No. 38) be denied.
               17
                               This court “may accept, reject, or modify, in whole or in part, the findings or
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                        recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). Where a party timely objects
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                        to a magistrate judge’s findings and recommendation, then the court is required to “make a de
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                        novo determination of those portions of the [report and recommendation] to which objection is
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                        made.” 28 U.S.C. § 636(b)(1).
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                               Where a party fails to object, however, the court is not required to conduct “any review at
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                        all . . . of any issue that is not the subject of an objection.” Thomas v. Arn, 474 U.S. 140, 149
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                        (1985). Indeed, the Ninth Circuit has recognized that a district court is not required to review a
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                        magistrate judge’s report and recommendation where no objections have been filed. See United
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                        States v. Reyna–Tapia, 328 F.3d 1114 (9th Cir. 2003) (disregarding the standard of review
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                        employed by the district court when reviewing a report and recommendation to which no
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James C. Mahan
U.S. District Judge
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                1       objections were made); see also Schmidt v. Johnstone, 263 F.Supp.2d 1219, 1226 (D. Ariz. 2003)
                2       (reading the Ninth Circuit’s decision in Reyna–Tapia as adopting the view that district courts are
                3       not required to review “any issue that is not the subject of an objection.”). Thus, if there is no
                4       objection to a magistrate judge’s recommendation, then this court may accept the recommendation
                5       without review. See, e.g., Johnstone, 263 F. Supp. 2d at 1226 (accepting, without review, a
                6       magistrate judge’s recommendation to which no objection was filed).
                7              Nevertheless, this court finds it appropriate to engage in a de novo review to determine
                8       whether to adopt the recommendation of the magistrate judge.               Upon reviewing the
                9       recommendation and underlying briefs, this court finds good cause to ADOPT the magistrate
              10        judge’s findings in full.
              11               Accordingly,
              12               IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the report and
              13        recommendation of Magistrate Judge Koppe, (ECF No. 103), are ADOPTED in their entirety.
              14               IT IS FURTHER ORDERED that defendant’s motion to suppress (ECF No. 38) is
              15        DENIED.
              16               DATED May 23, 2016.
              17                                                     __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                   -2-
